













Opinion issued April 16, 2004








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-00170-CV
____________

IN RE INLAND SALES COMPANY AND INLAND SALES COMPANY OF
HOUSTON, Relators




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relators request this Court to dismiss their petition for writ of mandamus.  This
request is unopposed.  No opinion has issued.  Accordingly, we dismiss the petition. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this proceeding are overruled as moot. 
PER CURIAM
Panel consists of Justices Taft, Higley, and Bland.


